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                                  EXHIBIT C
       Written Report of Michael G. Barb, CPA and Steve Riley, CPA, CFE
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July 25, 2023


To:   DHD Jessamine, LLC & Lesemann & Associates, LLC
From: Steve Riley, CPA, CFE and Michael G. Barb, CPA
Re:   The Jessamine


The purpose of this report is to provide an analytical summary of the lost profits suffered by DHD
Jessamine, LLC (“DHD”) as a result of the collective elected members of the Florence County
Council’s (the “County”) obstruction of the construction of a 60-unit multi-family housing
development in Florence county.

SUMMARY OF DAMAGES AND LOST PROFITS

The determination of damages and lost profits largely depends on the course of action and
decisions made by DHD at year 18 of the Jessamine’s operations. Based on these events, which
are discussed further in our report, the calculated damages and lost profits are as follows:

  Scenario 1     Sale of the property after 18 years of operation        $       8,703,780
  Scenario 2     Resyndication at year 18 and continue operations        $      10,127,718

An important consideration is that the initial financing note obtained by DHD on the property had
an 18-year term period (Exhibit 5). If DHD began operations in January of 2024 and continued
for 18 years, the total net cash flow based on Exhibit 1 would be approximately $4,581,809. DHD
would also be entitled to developer fees of $840,000 the day operations began. Additionally, DHD
has incurred fees throughout the planning and pursuit phase of the project which approximate
$315,000. At the end of the 18-year period the property could be sold to be repurposed for
additional credits, the estimated sale price at year 18 would be $8,070,147 (undiscounted for time
value of money).

The combined net present value of developer fees, pursuit costs, 18-year income stream and
proceeds from the sale of the property due on January 1, 2024 would be approximately $8,703780.

Alternatively, if DHD decided to re-purpose the property, apply for the credits and continue
operations, for an additional 17 years (35 total) the present value of this income stream along with
developer fees due on January 1, 2024 would be approximately $10,127,718.
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The amounts and figures presented in this letter are reliant on the facts, allegations, and causes of
actions as described in DHD’s Complaint, information obtained from the South Carolina Housing
Authority, and our research.

METHOD OF DETERMINING LOST PROFITS

An entity suffers lost profits due to the acts of another when one of the following scenarios occurs:

   -    Costs are greater than they would have been if not for the acts of another,
   -    Revenues are lower than they would have been if not for the acts of another, or
   -    Some combination of the previous two reasons.

In this matter, DHD lost the ability to earn future profits due to the County’s obstruction of DHD’s
construction of a 60-unit multi-family development.

As stated by Robert Dunn’s Recovery of Damages for Lost Profits, the calculation for lost profits
must be based on a rational approach and supported by a reasonable basis of evidence. The
following paragraphs and calculations outline the approach and the basis for the damages being
claimed by DHD.

BACKGROUND OF PROJECT

421 Cashua Drive

The owners of DHD identified a suitable tract of land in Florence County, which was comprised
of three parcels totaling 5.93 acres. The property was within an unincorporated area of Florence
County and was unzoned. On February 8, 2021, DHD entered into a contract to purchase the
property for $1,150,000. This land was secured for the sole purpose of building “The Jessamine”.

The Jessamine

The Jessamine, if built, would include 60 units targeted for family households with children. The
units would include:
    - Three-bedroom units (8)
    - Two-bedroom units, and (28)
    - One-bedroom units (24)

The architectural style chosen for the Jessamine is classified as “Townhome” style, with direct
entry to each apartment home from the ground level, which has the aesthetic appeal of an attached
single-family community.




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Below is an image for planned Jessaimine project:




                                                                        (Picture courtesy of DHD)

Eligible Tenants

DHD planned so that six of its units would be rented to tenants with annual household income at
or below $13,080. The remaining 54 units would be rented to tenants with annual household
income at or below $39,240.

Low Income Housing Tax Credit (LIHTC)

Tax credits awarded for the construction of a multi-family housing development is an integral
contributing factor for the financial feasibility of a project like the Jessamine.

The LIHTC Program requires each state agency that allocates tax credits, generally called a “house
finance agency” to have a Qualified Allocation Plan (“QAP”) for awarding the tax credits. The
QAP sets out the state’s eligibility priorities and criteria for awarding federal tax credits to housing
properties. It is a document that states must develop in order to be authorized to distribute federal
LIHTCs. LIHTCs can only be awarded to a development project that fits the QAP’s criteria. Each
QAP must define the housing finance agency’s priorities and specify the criteria used to select
among projects or applicants competing for the tax credits. The South Carolina State Housing
Finance and Development Authority is responsible for administering the LIHTC program for
qualifying projects in South Carolina.




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The 2021 QAP utilized the Palmetto Opportunity Index (POI) to provide a score or point total to
determine how well a project or applicant meets pre-defined criteria. The range is broken out as
follows:
    1) Very High – 40 points
    2) High – 30 points
    3) Moderate – 20 points
    4) Low – 10 points
    5) Very Low – 0 points

According to the POI received, the Jessamine project plans scored the highest possible (Very High
– 40 points).

On September 18, 2021, the SC Housing Authority posted its list of twenty-three applications that
would be receiving 2021 LIHTC Awards. In a letter to DHD dated October 22, 2021, the Housing
Authority officially notified DHD that it had qualified for a reservation of annual LIHTCs in the
amount of $894,517.22 per year for ten years totaling $8,945,172.20. In order for DHD to have
accepted this tax credit reservation award, a non-refundable reservation fee in the amount of
$89,451.72 along with an executed Reservation Certificate must have been summited to the SC
Housing Authority on or before November 1, 2021. Additionally, DHD was required to pay
$5,850 to cover a plan and specification review and four (4) construction inspections by an
independent third-party consultant.

Timeline to Receive LIHTC

The award of LIHTCs was tentative only in that it required that certain conditions be satisfied
subsequent to the initial award. One such requirement was that DHD incur at least ten percent
(10%) of the cost of development of the Jessamine by May 2, 2022. One Hundred percent (100%)
of the construction and receipt of a certificate of occupancy must be obtained by December 31,
2023. The interim deadline for 10% of costs incurred was extended to October 31, 2022 upon
request, however, the final completion deadline remained unchanged.

Due to the timeline and proceedings of this case, DHD has been prevented from achieving these
deadlines, thereby losing the LIHTC tax credits, the land and building investment, and future
profits of the Jessamine.

BASIS FOR CALCULATIONS

Developer Fees

At the completion of the project, DHD was entitled to an $840,000 developer fee. Due to the
proceedings of this case, DHD was unable to collect this guaranteed fee. This is added to our
calculation of lost profits and is undiscounted for present value as it should have occurred year 1.


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At the end of the initial 18-year period in both Scenarios outlined in this report, DHD would likely
remain the developer. The developer rates for 2023 this type of property are $25,000 for the first
50 rental units and $20,000 for the remaining 10, bringing the 2023 total to $1,450,000. Assuming
a 2.5% inflation over the initial 18-year period, the developer fee at year 18 would be $2,206,346.

Rental Rates

South Carolina rental rate thresholds are established by the South Carolina State Housing Finance
and Development Authority. This is based off multiple factors, such as geographical area of the
property, the number of bedrooms, units mix, subsidized discount rate used, net of the utility
allowance from the SC housing authority based on housing type. The Jessamine was planned to
be a green discount qualifying Energy Star property. Residents would be responsible for their
electric utilities separate from their monthly rental payment, which have been backed out of rental
rates based on the SC Housing Authority Utility Allowance Rates for Energy Star Large Apartment
Buildings (5+ units) in the Midlands Region of South Carolina (Exhibit 4).

Based on all these factors, we calculate the first-year annual net rental revenue of the Jessamine
would be $600,216 at 100% occupancy (Exhibit 2). Occupancy rates are discussed further below.

Market Study Findings on Occupancy and Historical Developer Occupancy Rate

The Jessamine Market Study conducted by Shaw Research and Consulting, LLC concluded that
the proposed facility should maintain at least 93% occupancy rate into the foreseeable future. We
believe this to be an overly conservate estimate as a result of the underwriting process and
represents an absolute minimum level of occupancy rate but is unlikely to be what the actual
occupancy rate would have been had the Jessamine been constructed. The Jessamine provided
only 60 units available for rent in an area where no other low-income housing of the same nature
currently exists as noted in the Market Study (no adverse effects on existing local rental facilities,
either affordable or market rate). As such, we believe the demand as a result of the scarcity of
these units would be greater than the minimum threshold set by the Market Study. For comparison,
the developer’s other projects on average experience a 98+% occupancy rate. For the purposes of
our lost profits calculation, we believe a 97% occupancy rate is both reasonable and conservative
based on these factors. As a result, total annual revenue will be reduced by 3% (100% - 97%).

Operating Expenses and Debt Payments

DHD was approved to receive LIHTCs sufficient to allow the remaining costs of construction on
the Jessamine to be financed with an initial mortgage note of $1,493,000 at 6.5% amortized over
35 years with a balloon payment after 18 years (Exhibit 5). This results in annual payments of
$108,240, which will be added to the cash outflow for operating expenses to arrive at the net cash
flow provided by operations for year 1.




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Standard operating expenses include real estate taxes, insurance, utilities (other than electric
utilities), facility maintenance, replacement reserves at estimated rates, and payroll for on-site
manager and janitorial personnel. Our understanding is that operating expenses cannot be greater
than $3,600 per unit, excluding reserves, taxes, and compliance fees. Removing these, our
estimated per-unit operating expense for year 1 to be $3,542, which approaches the maximum
range allowable.

Total operating expenses for year 1 as a result of our analysis are $290,508 (Exhibit 1).

Based on these inputs, below is a calculation of the projected net cash inflow for year 1 of the
Jessamine’s operations:

Net Annual Cash Flow – Year 1

Our estimation of net cash flow for year 1 is summarized as follows:

 Annual Net Rental Revenue                          $       589,716
 Other Income                                                10,500
 Total Revenue Before Vacancy Allowance                     600,216

 3% Vacancy Allowance                                      (18,006)
 Total Revenue After Vacancy Allowance              $       582,210 Total Cash Inflow
 Operating Expenses                                 $       290,509
 Payment for Mortgage Loan                                  108,240
 Total Expenses and Debt Payments                           398,749 Total Cash Outflow
 Net Cash Inflow - Year 1                           $       183,461


Annual Rate Increases Year 2 - Forward

Projection of revenue and expenses must include the minimum increases as part of the application
process for:

Minimum required rental rate increase – 2%
Minimum required expense rate increase – 3%

For the purposes of our analysis, we have used 2.5% as the increase in revenue year over year and
a 3% increase in expenses each year. These increases approximate standard inflationary increases
over time. These increases are included in our analysis of net cash inflow and outflows at Exhibit
1.



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Net Present Value of Operations – Initial 18 Year Period

Net present value measures the current worth in today’s dollars of a series of net cash inflows or
outflows that occur at different points in the future. Those net cash inflows or outflows are
discounted (reduced) back to today’s value since the value or worth of dollar decreases over time.
For example, a person cannot obtain as much in value for one dollar today as compared to 50 years
ago.

As this concept relates to the Jessamine, the series of net cash inflows from rental activity over 18
years added together sums to $4,581,809 based on our analysis. This represents the count of
dollars received through the 18 years with no discount for time value of money. The value must
be discounted using an appropriate interest rate. Based on the time frame and publicly available
conservative investment rates, we used a 4% interest rate, which approximates the 20-year treasury
bond rate as of the date of our analysis. The discounted net present value based on projected cash
inflows for the initial 18-year period of operations is $3,104,624.

Scenarios After Initial 18 Years of Operations

The calculation of lost profits will differ depending on course of actions taken at the 18-year mark
of the Jessamine’s operations. At the 18th year, DHD could choose the follow courses of action:
    - Scenario 1 - Sell the Property
    - Scenario 2 - Resyndication

Technically, both scenarios anticipate a resyndication of Low-Income Housing Tax Credits. In
Scenario 1, DHD is selling to a 3rd party and doing the rehab development for them, earning the
2nd developer fee and the 3rd party then owns the development going forward. In Scenario 2, DHD
is selling the property to themselves or a related entity, doing the rehab development thereby
earning the 2nd developer fee, and also maintaining ownership following 17 years (years 19-35).

CALCULATION OF LOST PROFITS AND DAMAGES OF EACH SCENARIO

Scenario 1 – Sale of Property after 18 Years

Based on the net operating income projected at year 18 of $443,858 and using a market cap rate
multiplier of 5.5%, we would estimate the sale to be $8,070,147.

According to our research, market cap rates for multifamily homes in 2022-2023 generally range
from 4 - 10%. Per an article from Fannie Mae dated January 20, 2023:

Multifamily cap rates remained low in 2022, at a national estimated level of 4.7% through the third quarter.
However, we believe multifamily cap rates are likely to increase above 5.0% by early 2023 as investor
demand further moderates and the 10-year Treasury rises. (https://multifamily.fanniemae.com/news-
insights/multifamily-market-commentary/2023-multifamily-market-outlook-turbulence-ahead).


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Calculation summary for Scenario 1:

 Year 1
 Lost Fees and Pursuit Costs of The Jessamine Project                   $        315,000
 Developer Fee - Year 1                                                          840,000
 NPV of Cashflow from Operations Years 1-18                                    3,104,624
 Year 18 Sale of Property
 Estimated Sales Price at Year 18                       8,070,147
 Remaining Note Balance                                (1,112,046)
 Cost of Sale Estimate 2%                                (161,403)
 Developer Fee                                          2,206,346
 Net Proceeds from Sale with Dev. Fee                    9,003,044
 NPV of Net Proceeds from Sale and Dev. Fee at Year 18                         4,444,156
 Lost Profits Calculated                                                $      8,703,780


Scenario 2 – Resyndication and Continued Operations for 17 Additional Years

At the end of the 18-year initial loan period, DHD could apply for resyndication which would
allow additional funding to renovate the existing property. The developers of DHD have a history
of constructing properties that qualified for resyndication. Our understanding is that these include
the following developments:

Swansgate 1:         (24-Unit Development)
Swansgate 2:         (34-Unit Development)
Swansgate 3:         (64-Unit Development)
Raintree Apartments: (26 Unit Development)
Landwood Ridge:      (55 Unit Development)


Being that there is a history of these with the developer, it stands to reason that this is a rational
outcome to assume.




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                            Exhibits – Table of Contents



Exhibit 1         Projection of Cash Flows

Exhibit 2         Year 1 Rental Revenue Calculation

Exhibit 3         2023 SC Housing Authority Neighborhood Stabilization Project (NSP)
                  Rent Limits

Exhibit 4         2023 SC Housing Authority Utility Allowance Schedule for Energy Star
                  Larger Apartment Buildings (5+ Units)

Exhibit 5         Initial 18-Year Mortgage Note Amortization Table
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EXHIBIT 1

                                                                                                                                    The Jessamine
Cash Flow Variables:
                                                                                                                               Projection of Cash Flows
Vacancy Rate Assumption                                    3.0%
Annual Inflation Factor                                    2.5%
Number of Units                                              60

                                                                                                                                                          Initial 18 Year Period
                                   Year 1             Year 2          Year 3           Year 4        Year 5       Year 6        Year 7       Year 8         Year 9           Year 10      Year 11      Year 12      Year 13      Year 14      Year 15      Year 16         Year 17         Year 18
Revenues
Annual Rents                            589,716        604,459          619,570          635,060       650,936      667,210       683,890      700,987        718,512          736,474      754,886      773,758      793,102      812,930      833,253      854,085        875,437            897,323
Vacancy (3%)                            (17,691)       (18,134)         (18,587)         (19,052)      (19,528)     (20,016)      (20,517)     (21,030)       (21,555)         (22,094)     (22,647)     (23,213)     (23,793)     (24,388)     (24,998)     (25,623)       (26,263)           (26,920)

Net Rental Revenue                      572,025        586,325          600,983          616,008       631,408      647,193       663,373      679,957        696,956          714,380      732,240      750,546      769,309      788,542      808,256      828,462        849,174            870,403

Other Income                                10,500      10,763           11,032            11,307       11,590       11,880        12,177       12,481         12,793           13,113       13,441       13,777       14,121       14,474       14,836       15,207         15,587             15,977
Vacancy (3%)                                  (315)       (323)            (331)             (339)        (348)        (356)         (365)        (374)          (384)            (393)        (403)        (413)        (424)        (434)        (445)        (456)          (468)              (479)

Net Other Income                            10,185      10,440           10,701            10,968       11,242       11,523        11,811       12,107         12,409           12,720       13,038       13,364       13,698       14,040       14,391       14,751         15,120             15,498

Total Revenue                           582,210        596,765          611,684          626,976       642,650      658,717       675,185      692,064        709,366          727,100      745,277      763,909      783,007      802,582      822,647      843,213        864,293            885,901


Expenses
Real Estate Taxes                           57,000      58,425           59,886            61,383       62,917       64,490        66,103       67,755         69,449           71,185       72,965       74,789       76,659       78,575       80,540       82,553         84,617             86,732
Insurance                                   16,500      16,913           17,335            17,769       18,213       18,668        19,135       19,613         20,104           20,606       21,121       21,649       22,191       22,745       23,314       23,897         24,494             25,107
Utilities                                   10,500      10,763           11,032            11,307       11,590       11,880        12,177       12,481         12,793           13,113       13,441       13,777       14,121       14,474       14,836       15,207         15,587             15,977
Telephone                                    3,000       3,075            3,152             3,231        3,311        3,394         3,479        3,566          3,655            3,747        3,840        3,936        4,035        4,136        4,239        4,345          4,454              4,565
Water & Sewer                               40,380      41,390           42,424            43,485       44,572       45,686        46,828       47,999         49,199           50,429       51,690       52,982       54,307       55,664       57,056       58,482         59,944             61,443
Trash Removal                                9,000       9,225            9,456             9,692        9,934       10,183        10,437       10,698         10,966           11,240       11,521       11,809       12,104       12,407       12,717       13,035         13,361             13,695
Pest Control                                 4,200       4,305            4,413             4,523        4,636        4,752         4,871        4,992          5,117            5,245        5,376        5,511        5,649        5,790        5,934        6,083          6,235              6,391
Building Maintenance & Repair                7,500       7,688            7,880             8,077        8,279        8,486         8,698        8,915          9,138            9,366        9,601        9,841       10,087       10,339       10,597       10,862         11,134             11,412
Interior & Exterior Decorating               4,800       4,920            5,043             5,169        5,298        5,431         5,567        5,706          5,848            5,995        6,144        6,298        6,455        6,617        6,782        6,952          7,126              7,304
Cleaning/Turnover                            6,000       6,150            6,304             6,461        6,623        6,788         6,958        7,132          7,310            7,493        7,680        7,873        8,069        8,271        8,478        8,690          8,907              9,130
Supplies                                     4,200       4,305            4,413             4,523        4,636        4,752         4,871        4,992          5,117            5,245        5,376        5,511        5,649        5,790        5,934        6,083          6,235              6,391
Gardening/Landscaping                        5,000       5,125            5,253             5,384        5,519        5,657         5,798        5,943          6,092            6,244        6,400        6,560        6,724        6,893        7,065        7,242          7,423              7,608
Management Fee (6% Gross Rev)               34,933      35,806           36,701            37,619       38,559       39,523        40,511       41,524         42,562           43,626       44,717       45,835       46,980       48,155       49,359       50,593         51,858             53,154
Wages - Resident Manager                    25,000      25,625           26,266            26,922       27,595       28,285        28,992       29,717         30,460           31,222       32,002       32,802       33,622       34,463       35,324       36,207         37,113             38,040
Wages - Custodian                           22,000      22,550           23,114            23,692       24,284       24,891        25,513       26,151         26,805           27,475       28,162       28,866       29,588       30,327       31,085       31,863         32,659             33,476
Payroll Taxes - Employer Portion             3,596       3,685            3,778             3,872        3,969        4,068         4,170        4,274          4,381            4,490        4,603        4,718        4,836        4,956        5,080        5,207          5,338              5,471
Benefits (10% of Wages)                      4,700       4,818            4,938             5,061        5,188        5,318         5,451        5,587          5,726            5,870        6,016        6,167        6,321        6,479        6,641        6,807          6,977              7,152
Advertising                                  3,500       3,588            3,677             3,769        3,863        3,960         4,059        4,160          4,264            4,371        4,480        4,592        4,707        4,825        4,945        5,069          5,196              5,326
General office expenses                      3,200       3,280            3,362             3,446        3,532        3,621         3,711        3,804          3,899            3,996        4,096        4,199        4,304        4,411        4,522        4,635          4,750              4,869
Professional fees                            4,500       4,613            4,728             4,846        4,967        5,091         5,219        5,349          5,483            5,620        5,760        5,904        6,052        6,203        6,358        6,517          6,680              6,847
Compliance Fees                              3,000       3,075            3,152             3,231        3,311        3,394         3,479        3,566          3,655            3,747        3,840        3,936        4,035        4,136        4,239        4,345          4,454              4,565
Replacement Reserves ($300/unit)            18,000      18,450           18,911            19,384       19,869       20,365        20,874       21,396         21,931           22,480       23,042       23,618       24,208       24,813       25,434       26,069         26,721             27,389

Total Expenses                          290,508        297,771          305,215          312,845       320,667      328,683       336,900      345,323        353,956          362,805      371,875      381,172      390,701      400,469      410,480      420,742        431,261            442,043


Net Operating Income                    291,701        298,994          306,469          314,130       321,984      330,033       338,284      346,741        355,410          364,295      373,402      382,737      392,306      402,114      412,166      422,471        433,032            443,858


Annual Mortgage Payments                108,240        108,240          108,240          108,240       108,240      108,240       108,240      108,240        108,240          108,240      108,240      108,240      108,240      108,240      108,240      108,240        108,240            108,240

Annual Net Cash Inflow                  183,461        190,754          198,229          205,890       213,744      221,793       230,044      238,501        247,170          256,055      265,162      274,497      284,066      293,874      303,926      314,231        324,792            335,618
                                                                                                                                                                                                                                                                        18 Year Total        4,581,809

Other Items:
Developer Fee - Year 1                  840,000 To be included in Year 1 income for all scenarios
Pursuit Costs                           315,000 To be added to total damages for all scenarios



Not Discounted for Net Present Value
 Initial 18 Year Period   5,736,809 18 Years (Includes Developer Fee - Year 1 and Pursuit Costs)                                                                                                                                                                                 Sale Event - Scenario 1
             Scenario 1  14,739,853 18 Years with Sale and Development Fee                                                                                                                                                                                    Sale @ 5.5% Cap Rate           8,070,147
             Scenario 2  18,988,145 18 Year Resyndication and Continued Operations for 17 years (35 total)                                                                                                                                                 Estimated Sale Costs (2%)          (161,403)
                                                                                                                                                                                                                                                            Remaining Loan Balance          (1,112,046)
                                                                                                                                                                                                                                                               Developer Fee at Sale         2,206,346
                                                                                                                                                                                                                                                             Net Proceeds From Sale          9,003,044
Discounted for Net Present Value
 Initial 18 Year Period    4,259,624 NPV Calc - 18 Years (Includes Developer Fee - Year 1 and Pursuit Costs)
             Scenario 1    8,703,780 NPV Calc - 18 Years with Sale and Development Fee
             Scenario 2  10,127,718 NPV Calc - 18 Year Resyndication and Continued Operations for 17 years (35 total)
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                                                                                                                                 The Jessamine
                                                                                                                            Projection of Cash Flows

                                                                                                2nd Period - 17 Years
Year 19     Year 20      Year 21    Year 22    Year 23      Year 24      Year 25      Year 26        Year 27      Year 28     Year 29      Year 30      Year 31      Year 32      Year 33       Year 34       Year 35

 919,756      942,750    966,318    990,476    1,015,238    1,040,619    1,066,635    1,093,300     1,120,633    1,148,649    1,177,365    1,206,799    1,236,969    1,267,893    1,299,591     1,332,080     1,365,383
 (27,593)     (28,282)   (28,990)   (29,714)     (30,457)     (31,219)     (31,999)     (32,799)      (33,619)     (34,459)     (35,321)     (36,204)     (37,109)     (38,037)     (38,988)      (39,962)      (40,961)

 892,163      914,467    937,329    960,762     984,781     1,009,401    1,034,636    1,060,501     1,087,014    1,114,189    1,142,044    1,170,595    1,199,860    1,229,857    1,260,603     1,292,118     1,324,421

  16,376       16,786     17,205     17,636      18,076       18,528       18,992       19,466         19,953       20,452      20,963       21,487       22,024       22,575       23,139         23,718       24,311
    (491)        (504)      (516)      (529)       (542)        (556)        (570)        (584)          (599)        (614)       (629)        (645)        (661)        (677)        (694)          (712)        (729)

  15,885       16,282     16,689     17,107      17,534       17,973       18,422       18,882         19,354       19,838      20,334       20,843       21,364       21,898       22,445         23,006       23,582

 908,048      930,749    954,018    977,869    1,002,315    1,027,373    1,053,057    1,079,384     1,106,368    1,134,028    1,162,378    1,191,438    1,221,224    1,251,754    1,283,048     1,315,124     1,348,003




  88,901       91,123     93,401     95,736      98,130      100,583      103,097      105,675        108,317      111,025     113,800      116,645      119,561      122,550      125,614        128,755      131,973
  25,734       26,378     27,037     27,713      28,406       29,116       29,844       30,590         31,355       32,139      32,942       33,766       34,610       35,475       36,362         37,271       38,203
  16,376       16,786     17,205     17,636      18,076       18,528       18,992       19,466         19,953       20,452      20,963       21,487       22,024       22,575       23,139         23,718       24,311
   4,679        4,796      4,916      5,039       5,165        5,294        5,426        5,562          5,701        5,843       5,990        6,139        6,293        6,450        6,611          6,777        6,946
  62,979       64,554     66,167     67,822      69,517       71,255       73,036       74,862         76,734       78,652      80,619       82,634       84,700       86,817       88,988         91,212       93,493
  14,037       14,388     14,748     15,116      15,494       15,882       16,279       16,686         17,103       17,530      17,968       18,418       18,878       19,350       19,834         20,330       20,838
   6,551        6,714      6,882      7,054       7,231        7,411        7,597        7,787          7,981        8,181       8,385        8,595        8,810        9,030        9,256          9,487        9,724
  11,697       11,990     12,290     12,597      12,912       13,235       13,565       13,905         14,252       14,609      14,974       15,348       15,732       16,125       16,528         16,941       17,365
   7,486        7,674      7,865      8,062       8,264        8,470        8,682        8,899          9,121        9,349       9,583        9,823       10,068       10,320       10,578         10,843       11,114
   9,358        9,592      9,832     10,077      10,329       10,588       10,852       11,124         11,402       11,687      11,979       12,278       12,585       12,900       13,223         13,553       13,892
   6,551        6,714      6,882      7,054       7,231        7,411        7,597        7,787          7,981        8,181       8,385        8,595        8,810        9,030        9,256          9,487        9,724
   7,798        7,993      8,193      8,398       8,608        8,823        9,044        9,270          9,501        9,739       9,983       10,232       10,488       10,750       11,019         11,294       11,577
  54,483       55,845     57,241     58,672      60,139       61,642       63,183       64,763         66,382       68,042      69,743       71,486       73,273       75,105       76,983         78,907       80,880
  38,991       39,966     40,965     41,990      43,039       44,115       45,218       46,349         47,507       48,695      49,912       51,160       52,439       53,750       55,094         56,471       57,883
  34,312       35,170     36,050     36,951      37,875       38,821       39,792       40,787         41,806       42,852      43,923       45,021       46,146       47,300       48,483         49,695       50,937
   5,608        5,748      5,892      6,039       6,190        6,345        6,503        6,666          6,833        7,003       7,178        7,358        7,542        7,730        7,924          8,122        8,325
   7,330        7,514      7,701      7,894       8,091        8,294        8,501        8,714          8,931        9,155       9,383        9,618        9,859       10,105       10,358         10,617       10,882
   5,459        5,595      5,735      5,879       6,026        6,176        6,331        6,489          6,651        6,817       6,988        7,162        7,341        7,525        7,713          7,906        8,104
   4,991        5,116      5,244      5,375       5,509        5,647        5,788        5,933          6,081        6,233       6,389        6,549        6,712        6,880        7,052          7,228        7,409
   7,018        7,194      7,374      7,558       7,747        7,941        8,139        8,343          8,551        8,765       8,984        9,209        9,439        9,675        9,917         10,165       10,419
   4,679        4,796      4,916      5,039       5,165        5,294        5,426        5,562          5,701        5,843       5,990        6,139        6,293        6,450        6,611          6,777        6,946
  28,074       28,776     29,495     30,232      30,988       31,763       32,557       33,371         34,205       35,060      35,937       36,835       37,756       38,700       39,668         40,659       41,676

 453,094      464,421    476,031    487,932     500,131      512,634      525,450      538,586        552,051      565,852     579,998      594,498      609,361      624,595      640,209        656,215      672,620


 454,955      466,328    477,987    489,936     502,185      514,739      527,608      540,798        554,318      568,176     582,380      596,940      611,863      627,160      642,839        658,910      675,383


 308,483      308,483    308,483    308,483     308,483      308,483      308,483      308,483        308,483      308,483     308,483      308,483      308,483      308,483      308,483        308,483      308,483

 146,472      157,845    169,504    181,453     193,702      206,256      219,125      232,315        245,835      259,693     273,897      288,457      303,380      318,677      334,356        350,427      366,900

                                                                                                                                                                                   Additional 17 Year Total   4,248,293
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Year 1 Rental Revenue Calculation
Florence County
2023
EXHIBIT 2




                                                  SC Housing Authority Rental Rates*
Type                                   100% Rate*    60% Rate 20% Rate
1 Bedroom                                    1,320         792        264
2 Bedrooms                                   1,582         949        316
3 Bedrooms                                   1,828       1,097        366

                                                               The Jessamine
Unit Mix                               100% Rate*        60% Rate 20% Rate                  Total
1 Bedroom                                      -                7          1                             8
2 Bedrooms                                     -               25          3                            28
3 Bedrooms                                     -               22          2                            24
Total Units                                                                                             60

Monthly Gross Revenue                             -          53,403       1,944                      55,347

                                                       SC State Utility Allowances**
                                     Bedrooms            Number of Units       Total Per Room Type
1 Bedroom                                         (76)                      8                    (608)
2 Bedrooms                                        (97)                     28                  (2,716)
3 Bedrooms                                       (120)                     24                  (2,880)
Total Monthly Allowance                                                                        (6,204)

Monthly Net Revenue                                                                                  49,143

Annual Net Rental Revenue - Year 1                                                                  589,716
Other Income***                                                                                      10,500

Total Annual Revenue Before Occupancy Allowance - Year 1                          $                 600,216

*2023 NSP Rent Limits from SC Housing Authority (Exhibit 3)
**2023 SC Housing Authority Midlands Area Energy Star Allowance - Larger Apt. Bldgs. (5+ Units) (Exhibit 4)
***Other income is an estimate of $175/unit per year for late payments, pet fees, application fees, background checks, laundry credits
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Exhibit 3
            4:22-cv-01235-JD   Date Filed 07/25/23   Entry Number 39-3   Page 16 of 22
Exhibit 4
            4:22-cv-01235-JD       Date Filed 07/25/23     Entry Number 39-3          Page 17 of 22
Exhibit 5                                                                        7/20/2023 2:14 PM Page 1
Initial Loan Period
Compound Period:                    Monthly

Nominal Annual Rate:                6.500%


CASH FLOW DATA

              Event      Date            Amount       Number        Period       End Date
         1 Loan        12/1/2023    1,493,000.00           1
         2 Payment     1/1/2024         9,020.02         216       Monthly       12/1/2041
         3 Payment     12/1/2041    1,112,045.67           1


AMORTIZATION SCHEDULE - Normal Amortization

            Date         Payment         Interest     Principal        Balance
     Loan 12/1/2023                                               1,493,000.00
2023 Totals                  0.00             0.00        0.00

        1 1/1/2024       9,020.02       8,087.08        932.94 1,492,067.06
        2 2/1/2024       9,020.02       8,082.03        937.99 1,491,129.07
        3 3/1/2024       9,020.02       8,076.95        943.07 1,490,186.00
        4 4/1/2024       9,020.02       8,071.84        948.18 1,489,237.82
        5 5/1/2024       9,020.02       8,066.70        953.32 1,488,284.50
        6 6/1/2024       9,020.02       8,061.54        958.48 1,487,326.02
        7 7/1/2024       9,020.02       8,056.35        963.67 1,486,362.35
        8 8/1/2024       9,020.02       8,051.13        968.89 1,485,393.46
        9 9/1/2024       9,020.02       8,045.88        974.14 1,484,419.32
       10 10/1/2024      9,020.02       8,040.60        979.42 1,483,439.90
       11 11/1/2024      9,020.02       8,035.30        984.72 1,482,455.18
       12 12/1/2024      9,020.02       8,029.97        990.05 1,481,465.13
2024 Totals            108,240.24      96,705.37     11,534.87

       13 1/1/2025       9,020.02       8,024.60        995.42 1,480,469.71
       14 2/1/2025       9,020.02       8,019.21      1,000.81 1,479,468.90
       15 3/1/2025       9,020.02       8,013.79      1,006.23 1,478,462.67
       16 4/1/2025       9,020.02       8,008.34      1,011.68 1,477,450.99
       17 5/1/2025       9,020.02       8,002.86      1,017.16 1,476,433.83
       18 6/1/2025       9,020.02       7,997.35      1,022.67 1,475,411.16
       19 7/1/2025       9,020.02       7,991.81      1,028.21 1,474,382.95
       20 8/1/2025       9,020.02       7,986.24      1,033.78 1,473,349.17
       21 9/1/2025       9,020.02       7,980.64      1,039.38 1,472,309.79
       22 10/1/2025      9,020.02       7,975.01      1,045.01 1,471,264.78
       23 11/1/2025      9,020.02       7,969.35      1,050.67 1,470,214.11
       24 12/1/2025      9,020.02       7,963.66      1,056.36 1,469,157.75
2025 Totals            108,240.24      95,932.86     12,307.38
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       25 1/1/2026      9,020.02    7,957.94    1,062.08 1,468,095.67 7/20/2023 2:14 PM Page 2
       26 2/1/2026      9,020.02    7,952.18    1,067.84 1,467,027.83
       27 3/1/2026      9,020.02    7,946.40    1,073.62 1,465,954.21
       28 4/1/2026      9,020.02    7,940.59    1,079.43 1,464,874.78
       29 5/1/2026      9,020.02    7,934.74    1,085.28 1,463,789.50
       30 6/1/2026      9,020.02    7,928.86    1,091.16 1,462,698.34
       31 7/1/2026      9,020.02    7,922.95    1,097.07 1,461,601.27
       32 8/1/2026      9,020.02    7,917.01    1,103.01 1,460,498.26
       33 9/1/2026      9,020.02    7,911.03    1,108.99 1,459,389.27
       34 10/1/2026     9,020.02    7,905.03    1,114.99 1,458,274.28
       35 11/1/2026     9,020.02    7,898.99    1,121.03 1,457,153.25
       36 12/1/2026     9,020.02    7,892.91    1,127.11 1,456,026.14
2026 Totals           108,240.24   95,108.63   13,131.61

       37 1/1/2027      9,020.02    7,886.81    1,133.21 1,454,892.93
       38 2/1/2027      9,020.02    7,880.67    1,139.35 1,453,753.58
       39 3/1/2027      9,020.02    7,874.50    1,145.52 1,452,608.06
       40 4/1/2027      9,020.02    7,868.29    1,151.73 1,451,456.33
       41 5/1/2027      9,020.02    7,862.06    1,157.96 1,450,298.37
       42 6/1/2027      9,020.02    7,855.78    1,164.24 1,449,134.13
       43 7/1/2027      9,020.02    7,849.48    1,170.54 1,447,963.59
       44 8/1/2027      9,020.02    7,843.14    1,176.88 1,446,786.71
       45 9/1/2027      9,020.02    7,836.76    1,183.26 1,445,603.45
       46 10/1/2027     9,020.02    7,830.35    1,189.67 1,444,413.78
       47 11/1/2027     9,020.02    7,823.91    1,196.11 1,443,217.67
       48 12/1/2027     9,020.02    7,817.43    1,202.59 1,442,015.08
2027 Totals           108,240.24   94,229.18   14,011.06

       49 1/1/2028      9,020.02    7,810.92    1,209.10 1,440,805.98
       50 2/1/2028      9,020.02    7,804.37    1,215.65 1,439,590.33
       51 3/1/2028      9,020.02    7,797.78    1,222.24 1,438,368.09
       52 4/1/2028      9,020.02    7,791.16    1,228.86 1,437,139.23
       53 5/1/2028      9,020.02    7,784.50    1,235.52 1,435,903.71
       54 6/1/2028      9,020.02    7,777.81    1,242.21 1,434,661.50
       55 7/1/2028      9,020.02    7,771.08    1,248.94 1,433,412.56
       56 8/1/2028      9,020.02    7,764.32    1,255.70 1,432,156.86
       57 9/1/2028      9,020.02    7,757.52    1,262.50 1,430,894.36
       58 10/1/2028     9,020.02    7,750.68    1,269.34 1,429,625.02
       59 11/1/2028     9,020.02    7,743.80    1,276.22 1,428,348.80
       60 12/1/2028     9,020.02    7,736.89    1,283.13 1,427,065.67
2028 Totals           108,240.24   93,290.83   14,949.41

      61   1/1/2029     9,020.02    7,729.94    1,290.08 1,425,775.59
      62   2/1/2029     9,020.02    7,722.95    1,297.07 1,424,478.52
      63   3/1/2029     9,020.02    7,715.93    1,304.09 1,423,174.43
      64   4/1/2029     9,020.02    7,708.86    1,311.16 1,421,863.27
      65   5/1/2029     9,020.02    7,701.76    1,318.26 1,420,545.01
      66   6/1/2029     9,020.02    7,694.62    1,325.40 1,419,219.61
      67   7/1/2029     9,020.02    7,687.44    1,332.58 1,417,887.03
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       68 8/1/2029      9,020.02    7,680.22    1,339.80 1,416,547.23 7/20/2023 2:14 PM Page 3
       69 9/1/2029      9,020.02    7,672.96    1,347.06 1,415,200.17
       70 10/1/2029     9,020.02    7,665.67    1,354.35 1,413,845.82
       71 11/1/2029     9,020.02    7,658.33    1,361.69 1,412,484.13
       72 12/1/2029     9,020.02    7,650.96    1,369.06 1,411,115.07
2029 Totals           108,240.24   92,289.64   15,950.60

       73 1/1/2030      9,020.02    7,643.54    1,376.48 1,409,738.59
       74 2/1/2030      9,020.02    7,636.08    1,383.94 1,408,354.65
       75 3/1/2030      9,020.02    7,628.59    1,391.43 1,406,963.22
       76 4/1/2030      9,020.02    7,621.05    1,398.97 1,405,564.25
       77 5/1/2030      9,020.02    7,613.47    1,406.55 1,404,157.70
       78 6/1/2030      9,020.02    7,605.85    1,414.17 1,402,743.53
       79 7/1/2030      9,020.02    7,598.19    1,421.83 1,401,321.70
       80 8/1/2030      9,020.02    7,590.49    1,429.53 1,399,892.17
       81 9/1/2030      9,020.02    7,582.75    1,437.27 1,398,454.90
       82 10/1/2030     9,020.02    7,574.96    1,445.06 1,397,009.84
       83 11/1/2030     9,020.02    7,567.14    1,452.88 1,395,556.96
       84 12/1/2030     9,020.02    7,559.27    1,460.75 1,394,096.21
2030 Totals           108,240.24   91,221.38   17,018.86

       85 1/1/2031      9,020.02    7,551.35    1,468.67 1,392,627.54
       86 2/1/2031      9,020.02    7,543.40    1,476.62 1,391,150.92
       87 3/1/2031      9,020.02    7,535.40    1,484.62 1,389,666.30
       88 4/1/2031      9,020.02    7,527.36    1,492.66 1,388,173.64
       89 5/1/2031      9,020.02    7,519.27    1,500.75 1,386,672.89
       90 6/1/2031      9,020.02    7,511.14    1,508.88 1,385,164.01
       91 7/1/2031      9,020.02    7,502.97    1,517.05 1,383,646.96
       92 8/1/2031      9,020.02    7,494.75    1,525.27 1,382,121.69
       93 9/1/2031      9,020.02    7,486.49    1,533.53 1,380,588.16
       94 10/1/2031     9,020.02    7,478.19    1,541.83 1,379,046.33
       95 11/1/2031     9,020.02    7,469.83    1,550.19 1,377,496.14
       96 12/1/2031     9,020.02    7,461.44    1,558.58 1,375,937.56
2031 Totals           108,240.24   90,081.59   18,158.65

       97 1/1/2032      9,020.02    7,453.00    1,567.02 1,374,370.54
       98 2/1/2032      9,020.02    7,444.51    1,575.51 1,372,795.03
       99 3/1/2032      9,020.02    7,435.97    1,584.05 1,371,210.98
      100 4/1/2032      9,020.02    7,427.39    1,592.63 1,369,618.35
      101 5/1/2032      9,020.02    7,418.77    1,601.25 1,368,017.10
      102 6/1/2032      9,020.02    7,410.09    1,609.93 1,366,407.17
      103 7/1/2032      9,020.02    7,401.37    1,618.65 1,364,788.52
      104 8/1/2032      9,020.02    7,392.60    1,627.42 1,363,161.10
      105 9/1/2032      9,020.02    7,383.79    1,636.23 1,361,524.87
      106 10/1/2032     9,020.02    7,374.93    1,645.09 1,359,879.78
      107 11/1/2032     9,020.02    7,366.02    1,654.00 1,358,225.78
      108 12/1/2032     9,020.02    7,357.06    1,662.96 1,356,562.82
2032 Totals           108,240.24   88,865.50   19,374.74
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      109 1/1/2033      9,020.02    7,348.05    1,671.97 1,354,890.85 7/20/2023 2:14 PM Page 4
      110 2/1/2033      9,020.02    7,338.99    1,681.03 1,353,209.82
      111 3/1/2033      9,020.02    7,329.89    1,690.13 1,351,519.69
      112 4/1/2033      9,020.02    7,320.73    1,699.29 1,349,820.40
      113 5/1/2033      9,020.02    7,311.53    1,708.49 1,348,111.91
      114 6/1/2033      9,020.02    7,302.27    1,717.75 1,346,394.16
      115 7/1/2033      9,020.02    7,292.97    1,727.05 1,344,667.11
      116 8/1/2033      9,020.02    7,283.61    1,736.41 1,342,930.70
      117 9/1/2033      9,020.02    7,274.21    1,745.81 1,341,184.89
      118 10/1/2033     9,020.02    7,264.75    1,755.27 1,339,429.62
      119 11/1/2033     9,020.02    7,255.24    1,764.78 1,337,664.84
      120 12/1/2033     9,020.02    7,245.68    1,774.34 1,335,890.50
2033 Totals           108,240.24   87,567.92   20,672.32

      121 1/1/2034      9,020.02    7,236.07    1,783.95 1,334,106.55
      122 2/1/2034      9,020.02    7,226.41    1,793.61 1,332,312.94
      123 3/1/2034      9,020.02    7,216.70    1,803.32 1,330,509.62
      124 4/1/2034      9,020.02    7,206.93    1,813.09 1,328,696.53
      125 5/1/2034      9,020.02    7,197.11    1,822.91 1,326,873.62
      126 6/1/2034      9,020.02    7,187.23    1,832.79 1,325,040.83
      127 7/1/2034      9,020.02    7,177.30    1,842.72 1,323,198.11
      128 8/1/2034      9,020.02    7,167.32    1,852.70 1,321,345.41
      129 9/1/2034      9,020.02    7,157.29    1,862.73 1,319,482.68
      130 10/1/2034     9,020.02    7,147.20    1,872.82 1,317,609.86
      131 11/1/2034     9,020.02    7,137.05    1,882.97 1,315,726.89
      132 12/1/2034     9,020.02    7,126.85    1,893.17 1,313,833.72
2034 Totals           108,240.24   86,183.46   22,056.78

      133 1/1/2035      9,020.02    7,116.60    1,903.42 1,311,930.30
      134 2/1/2035      9,020.02    7,106.29    1,913.73 1,310,016.57
      135 3/1/2035      9,020.02    7,095.92    1,924.10 1,308,092.47
      136 4/1/2035      9,020.02    7,085.50    1,934.52 1,306,157.95
      137 5/1/2035      9,020.02    7,075.02    1,945.00 1,304,212.95
      138 6/1/2035      9,020.02    7,064.49    1,955.53 1,302,257.42
      139 7/1/2035      9,020.02    7,053.89    1,966.13 1,300,291.29
      140 8/1/2035      9,020.02    7,043.24    1,976.78 1,298,314.51
      141 9/1/2035      9,020.02    7,032.54    1,987.48 1,296,327.03
      142 10/1/2035     9,020.02    7,021.77    1,998.25 1,294,328.78
      143 11/1/2035     9,020.02    7,010.95    2,009.07 1,292,319.71
      144 12/1/2035     9,020.02    7,000.07    2,019.95 1,290,299.76
2035 Totals           108,240.24   84,706.28   23,533.96

     145   1/1/2036     9,020.02    6,989.12    2,030.90 1,288,268.86
     146   2/1/2036     9,020.02    6,978.12    2,041.90 1,286,226.96
     147   3/1/2036     9,020.02    6,967.06    2,052.96 1,284,174.00
     148   4/1/2036     9,020.02    6,955.94    2,064.08 1,282,109.92
     149   5/1/2036     9,020.02    6,944.76    2,075.26 1,280,034.66
     150   6/1/2036     9,020.02    6,933.52    2,086.50 1,277,948.16
     151   7/1/2036     9,020.02    6,922.22    2,097.80 1,275,850.36
          4:22-cv-01235-JD     Date Filed 07/25/23   Entry Number 39-3     Page 21 of 22
      152 8/1/2036      9,020.02    6,910.86    2,109.16 1,273,741.20 7/20/2023 2:14 PM Page 5
      153 9/1/2036      9,020.02    6,899.43    2,120.59 1,271,620.61
      154 10/1/2036     9,020.02    6,887.94    2,132.08 1,269,488.53
      155 11/1/2036     9,020.02    6,876.40    2,143.62 1,267,344.91
      156 12/1/2036     9,020.02    6,864.78    2,155.24 1,265,189.67
2036 Totals           108,240.24   83,130.15   25,110.09

      157 1/1/2037      9,020.02    6,853.11    2,166.91 1,263,022.76
      158 2/1/2037      9,020.02    6,841.37    2,178.65 1,260,844.11
      159 3/1/2037      9,020.02    6,829.57    2,190.45 1,258,653.66
      160 4/1/2037      9,020.02    6,817.71    2,202.31 1,256,451.35
      161 5/1/2037      9,020.02    6,805.78    2,214.24 1,254,237.11
      162 6/1/2037      9,020.02    6,793.78    2,226.24 1,252,010.87
      163 7/1/2037      9,020.02    6,781.73    2,238.29 1,249,772.58
      164 8/1/2037      9,020.02    6,769.60    2,250.42 1,247,522.16
      165 9/1/2037      9,020.02    6,757.41    2,262.61 1,245,259.55
      166 10/1/2037     9,020.02    6,745.16    2,274.86 1,242,984.69
      167 11/1/2037     9,020.02    6,732.83    2,287.19 1,240,697.50
      168 12/1/2037     9,020.02    6,720.44    2,299.58 1,238,397.92
2037 Totals           108,240.24   81,448.49   26,791.75

      169 1/1/2038      9,020.02    6,707.99    2,312.03 1,236,085.89
      170 2/1/2038      9,020.02    6,695.47    2,324.55 1,233,761.34
      171 3/1/2038      9,020.02    6,682.87    2,337.15 1,231,424.19
      172 4/1/2038      9,020.02    6,670.21    2,349.81 1,229,074.38
      173 5/1/2038      9,020.02    6,657.49    2,362.53 1,226,711.85
      174 6/1/2038      9,020.02    6,644.69    2,375.33 1,224,336.52
      175 7/1/2038      9,020.02    6,631.82    2,388.20 1,221,948.32
      176 8/1/2038      9,020.02    6,618.89    2,401.13 1,219,547.19
      177 9/1/2038      9,020.02    6,605.88    2,414.14 1,217,133.05
      178 10/1/2038     9,020.02    6,592.80    2,427.22 1,214,705.83
      179 11/1/2038     9,020.02    6,579.66    2,440.36 1,212,265.47
      180 12/1/2038     9,020.02    6,566.44    2,453.58 1,209,811.89
2038 Totals           108,240.24   79,654.21   28,586.03

      181 1/1/2039      9,020.02    6,553.15    2,466.87 1,207,345.02
      182 2/1/2039      9,020.02    6,539.79    2,480.23 1,204,864.79
      183 3/1/2039      9,020.02    6,526.35    2,493.67 1,202,371.12
      184 4/1/2039      9,020.02    6,512.84    2,507.18 1,199,863.94
      185 5/1/2039      9,020.02    6,499.26    2,520.76 1,197,343.18
      186 6/1/2039      9,020.02    6,485.61    2,534.41 1,194,808.77
      187 7/1/2039      9,020.02    6,471.88    2,548.14 1,192,260.63
      188 8/1/2039      9,020.02    6,458.08    2,561.94 1,189,698.69
      189 9/1/2039      9,020.02    6,444.20    2,575.82 1,187,122.87
      190 10/1/2039     9,020.02    6,430.25    2,589.77 1,184,533.10
      191 11/1/2039     9,020.02    6,416.22    2,603.80 1,181,929.30
      192 12/1/2039     9,020.02    6,402.12    2,617.90 1,179,311.40
2039 Totals           108,240.24   77,739.75   30,500.49
            4:22-cv-01235-JD        Date Filed 07/25/23        Entry Number 39-3      Page 22 of 22
      193 1/1/2040         9,020.02       6,387.94         2,632.08 1,176,679.32 7/20/2023 2:14 PM Page 6
      194 2/1/2040         9,020.02       6,373.68         2,646.34 1,174,032.98
      195 3/1/2040         9,020.02       6,359.35         2,660.67 1,171,372.31
      196 4/1/2040         9,020.02       6,344.93         2,675.09 1,168,697.22
      197 5/1/2040         9,020.02       6,330.44         2,689.58 1,166,007.64
      198 6/1/2040         9,020.02       6,315.87         2,704.15 1,163,303.49
      199 7/1/2040         9,020.02       6,301.23         2,718.79 1,160,584.70
      200 8/1/2040         9,020.02       6,286.50         2,733.52 1,157,851.18
      201 9/1/2040         9,020.02       6,271.69         2,748.33 1,155,102.85
      202 10/1/2040        9,020.02       6,256.81         2,763.21 1,152,339.64
      203 11/1/2040        9,020.02       6,241.84         2,778.18 1,149,561.46
      204 12/1/2040        9,020.02       6,226.79         2,793.23 1,146,768.23
2040 Totals              108,240.24      75,697.07        32,543.17

      205 1/1/2041      9,020.02          6,211.66     2,808.36 1,143,959.87
      206 2/1/2041      9,020.02          6,196.45     2,823.57 1,141,136.30
      207 3/1/2041      9,020.02          6,181.15     2,838.87 1,138,297.43
      208 4/1/2041      9,020.02          6,165.78     2,854.24 1,135,443.19
      209 5/1/2041      9,020.02          6,150.32     2,869.70 1,132,573.49
      210 6/1/2041      9,020.02          6,134.77     2,885.25 1,129,688.24
      211 7/1/2041      9,020.02          6,119.14     2,900.88 1,126,787.36
      212 8/1/2041      9,020.02          6,103.43     2,916.59 1,123,870.77
      213 9/1/2041      9,020.02          6,087.63     2,932.39 1,120,938.38
      214 10/1/2041     9,020.02          6,071.75     2,948.27 1,117,990.11
      215 11/1/2041     9,020.02          6,055.78     2,964.24 1,115,025.87
      216 12/1/2041     9,020.02          6,039.72     2,980.30 1,112,045.57
      217 12/1/2041 1,112,045.67              0.10 1,112,045.57         0.00
2041 Totals         1,220,285.91         73,517.68 1,146,768.23

Grand Totals            3,060,369.99 1,567,369.99 1,493,000.00




Last interest amount increased by 0.10 due to rounding.
